        Case 1:10-cr-00080-SM     Document 48     Filed 12/21/10   Page 1 of 2




                     UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE



United States of America

             v.                               Case No. 10-cr-80-02/03/04/05-SM

Anthony Scott, Ashley Scala,
Gary Patch and Maria Valdez



                                     ORDER

       The defendant Gary Patch, through counsel, has moved to continue the trial

scheduled for January 19, 2011 for a period of 90 days, citing the need for additional

time to explore whether defendant Patch is an appropriate candidate for the LASER

docket. Co-defendants do not object, nor does the government object to a continuance

of the trial date.

       Accordingly, for the above reasons, the court will continue the trial from

January 19, 2011 to April 19, 2011. In agreeing to continue the trial, the court finds

pursuant to 18 U.S.C. § 3161(h)(7)(A) that for the above-stated reasons, the ends of

justice served in granting a continuance outweigh the best interests of the public and
       Case 1:10-cr-00080-SM       Document 48    Filed 12/21/10    Page 2 of 2




the defendants in a speedy trial. The defendant shall file a waiver of speedy trial not

later than December 27, 2010.

      Final Pretrial Conference:        April 8, 2011 at 2:00 PM

      Jury Selection:                   April 19, 2011 at 9:30 AM

      SO ORDERED.



December 21, 2010                     _________________________
                                       Steven J. McAuliffe
                                       Chief Judge

cc: Counsel of Record
    U. S. Probation
    U. S. Marshal




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